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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY
                                    CAMDEN VICINAGE

  SENTINEL INSURANCE COMPANY, LTD.,
                                                            Civil Action No. 19-cv-20142-RMB-AMD
        Plaintiff,
                                                            Motion Return Date: September 8, 2020
               -vs-

  CONRAD J. BENEDETTO, individually and doing
  business as THE LAW OFFICES OF CONRAD J.                         [Document Electronically Filed]
  BENEDETTO, and JOHN GROFF,

       Defendants.                                                    DECLARATION OF
  CONRAD J. BENEDETTO, THE LAW                                      PATRICK D. BONNER JR.
  OFFICES OF CONRAD J. BENEDETTO, and
  JOHN GROFF,

        Plaintiffs,

               -vs-

  SENTINEL INSURANCE COMPANY, LTD.,
  JOHN DOES and ABC ENTITIES A-Z,

        Defendants.


                 Patrick D. Bonner Jr., pursuant to 28 U.S.C. § 1746, declares the following:

                 1.     I am a member of Menz Bonner Komar & Koenigsberg LLP, counsel for

  Plaintiff Sentinel Insurance Company, Ltd. (“Sentinel”). I submit this declaration in opposition

  to the motion for partial summary judgment of Defendants Conrad J. Benedetto (“Mr.

  Benedetto”) and The Law Offices of Conrad J. Benedetto (“Benedetto Firm) (collectively, the

  “Defendants”).
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                 2.      A true and correct copy of Sentinel’s Complaint against Defendants filed

  on November 13, 2019 in the District Court of New Jersey is annexed hereto as Exhibit A. In

  this pleading, Sentinel seeks a declaratory judgment that Sentinel has no duty to defend or

  indemnify Defendants in connection with the Underlying Actions - Brian Nunez v. The Law

  Offices of Conrad J. Benedetto, et al., Case No. CAM-L-003997-18 (N.J. Super. Ct., Camden

  Co.), and John Doe v. The Law Offices of Conrad J. Benedetto, et al., Case No. CAM-L-004588-

  18 (N.J. Super. Ct., Camden Co.).

                 3.      A true and copy of the Waivers of the Service of Summons for Mr.

  Benedetto, the Benedetto Firm and defendant John Groff, dated January 20, 2020, are annexed

  hereto as Exhibit B.

                 4.      On December 14, 2019, Defendants filed a competing action against

  Sentinel in the Superior Court of the State of New Jersey, Law Division, Burlington County,

  docket number BUR-L-002611-19. Defendants’ complaint seeks a declaration that Sentinel has

  a duty to defend and indemnify Defendants in connection with the Underlying Actions and also

  included causes of action seeking damages for breach of contract and bad faith. A true and

  correct copy of Defendants’ Complaint is annexed hereto as Exhibit C.

                 5.      A true and correct copy of Sentinel’s January 15, 2020 Notice of Removal

  is annexed hereto as Exhibit D. Defendants’ action was assigned civil action no. 20-cv-483.

                 6.      On January 22, 2020, Sentinel filed its Answer and Separate Defenses to

  Defendants’ Complaint. A true and correct copy of Sentinel’s Answer and Separate Defenses is

  attached hereto as Exhibit E.




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                 7.      An Order consolidating Civil No. 19-20142 and Civil No. 20-483 for all

  purposes under Case No. 1:19-cv-20142 (RMB/AMD), dated February 18, 2020, is annexed

  hereto as Exhibit F.

                 8.      On June 23, 2020, Mr. Benedetto and the Benedetto Firm filed an Answer

  to Sentinel’s Complaint. A true and correct copy of the Answer is attached hereto as Exhibit G.

                 9.      A true and correct copy of Sentinel’s memorandum of law in support of its

  motion for summary judgment, dated August 7, 2020, is attached hereto as Exhibit H.



                 I declare under penalty of perjury that the foregoing is true and correct.

  Executed on August 25, 2020.

                                                        /s/ Patrick D. Bonner Jr.
                                                       PATRICK D. BONNER JR.




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